                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION


MILES SEWARD,                                         )
                                                      )
                         Plaintiff,                   )
                                                      )      JUDGMENT IN A CIVIL CASE
        v.                                            )
                                                      )      CASE NO. 5:20-CV-57-D
ANDREW M. SAUL, Commissioner of Social                )
Security,                                             )
                Defendant.                            )




Decision by Court.
This action came before this Court for ruling as follows.

IT IS ORDERED, ADJUDGED, AND DECREED that the Court hereby reverses Defendant's
decision under sentence four of 42 U.S.C. § 405(g) and remands the case to Defendant for further
administrative action.


This Judgment Filed and Entered on November 9, 2020, and Copies To:
Derrick Kyle Arrowood                                 (via CM/ECF electronic notification)
Lisa M. Rayo                                          (via CM/ECF electronic notification)




DATE:                                         PETER A. MOORE, JR., CLERK
November 9, 2020                              (By) /s/ Nicole Sellers
                                               Deputy Clerk




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